               Case 4:22-cv-00302-RH-MAF Document 135-27 Filed 11/29/22 Page 1 of 6



From:          Keefe, Larry [Larry.Keefe@eog.myflorida.com]
Sent:          8/3/2022 7:53:39 AM
To:            Fenske, Taryn M. [Taryn.M.Fenske@eog.myflorida.com]; Kelly Jefferson, Savannah
               [Savannah.KellyJefferson@eog.myflorida.com]; Newman, Ryan [Ryan.Newman@eog.myflorida.com]; Keefe, Larry
               [Larry.Keefe@eog.myflorida.com]
Subject:       Fwd: Remarks
Attachments:   REMARKS V2.docx




Sent from my Verizon, Samsung Galaxy smartphone
Get Outlook for Android

From: L Keefe <19lkeefe@gmail.com>
Sent: Wednesday, August 3, 2022 7:51:23 AM
To: Keefe, Larry <Larry.Keefe@eog.myflorida.com>; 191keefe <19lkeefe@gmail.com>
Subject: Fwd: Remarks




Sent from my iPhone

Begin forwarded message:

From: Chad Chronister <chadchronisterl@gmail.com>
Date: August 2, 2022 at 20:32:48 EDT
To: l 9lkeefe@gmail.com
Subject: Remarks




                                                                                                             4:22-cv-302-RH-MAF

                                                                                                          PLAINTIFF'S EX
                                                  EXHIBIT
                                                   0016                                                           63
                                                   Ryan Newman
                                                   11.07.2022
                                                                                                                DEF 000526
                                                                                                                PEX 63.001
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[SHERIFF CHAD CHRONISTER]

EACH DAY I WAKE UP, LEAVE MY FAMILY AND GO TO
WORK WITH PURPOSE AND PRIDE ...

TO UPHOLD MY OATH OF OFFICE AND KEEP EVERYONE IN
HILLSBOROUGH COUNTY SAFE.

AND THE NEARLY 4-THOUSAND EMPLOYEES AT THE
HILLSBOROUGH COUNTY SHERIFF'S OFFICE UPHOLD
THESE SAME VALUES ...

WE PUT OUR LIVES ON THE LINE FOR COMPLETE
STRANGERS.

[VERY BRIEF PAUSE]

WE ARE RESOLVED TO APPREHEND THE CRIMINALS WHO
PREY ON LAW ABIDING CITIZENS IN OUR COMMUNITY.

IT'S OUR DUTY ...

AND WE TRUST THAT OUR CRIMINAL JUSTICE SYSTEM ...

THE STATE ATTORNEY, PUBLIC DEFENDER, AND COURTS
WILL FAIRLY ADJUDICATE THE CIRCUMSTANCES ...

AND HOLD THOSE WHO ARE GUILTY, ACCOUNTABLE.

[VERY BRIEF PAUSE]




                                                                              DEF 000527
                                                                              PEX 63.002
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LIKE LAW ENFORCEMENT THROUGHOUT THE COUNTY,
OUR CRIMINAL JUSTICE PARTNERS ALSO TAKE AN
OATH ...

TO UPHOLD THE CONSTITUTION ...

THE DULY ENACTED LAWS OF THE STATE ...

AND TO BE THE VOICE FOR VICTIMS AND PROTECTORS
OF THE PUBLIC INTEREST.

[VERY BRIEF PAUSE]

THE GOVERNOR'S SUSPENSION OF STATE ATTORNEY
ANDREW WARREN IS NOT POLITICAL TO ME ...

IT'S ABOUT LAW AND ORDERI

IT'S ABOUT ENSURING OUR LOVED ONES ARE SAFE.

IT'S ABOUT THE VICTIMS AND THEIR VOICES ...

THEY MATTER AND THEY SHOULD BE HEARD.

[VERY BRIEF PAUSE]

OVER THE LAST SEVERAL YEARS, STATE ATTORNEY
WARREN HAS ACTED AS THE ADJUDICATOR OF ALL ...

AS IF A SUPREME AUTHORITY.




                                                                             DEF 000528
                                                                             PEX 63.003
      Case 4:22-cv-00302-RH-MAF Document 135-27 Filed 11/29/22 Page 4 of 6

BY REDUCING CHARGES, DROPPING CASES, AND SINGLE
HANDEDLY CHOOSING WHAT CRIMES WILL BE LEGAL OR
ILLEGAL IN OUR COUNTY.

ASK YOURSELF, AREN'T THESE DECISIONS FOR THE
COURTS OR A JURY OF OUR PEERS?

[VERY BRIEF PAUSE]

EVEN IN THE FACE OF THIS ADVERSITY ...

LAW ENFORCEMENT CONTINUES TO REPORT FOR DUTY
AND UPHOLD THEIR OBLIGATION.

[VERY BRIEF PAUSE]

AS YOUR SHERIFF, I CONTINUE TO WORK WITH MY LAW
ENFORCEMENT COUNTERPARTS ...

WHO PRIVATELY ARE FRUSTRATED WITH THE STATE
ATTORNEY ...

WHO SEEMS INTENTLY FOCUSED ON EMPATHY FOR
CRIMINALS, AND LESS INTERESTED IN PURSUING
JUSTICE FOR CRIME VICTIMS.

[BRIEF PAUSE]

AS MOST EVERYONE KNOWS, I AM A PROPONENT OF
REDUCING RECIDIVISM ...

l'VE CREATED SEVERAL DIVERSION PROGRAMS AND
CONTINUE TO PROVIDE RESOURCES, EDUCATION, AND
                                                                             DEF 000529
                                                                             PEX 63.004
      Case 4:22-cv-00302-RH-MAF Document 135-27 Filed 11/29/22 Page 5 of 6

OPPORTUNITIES FOR INDIVIDUALS TO TURN THEIR LIVES
AROUND ...

WHILE STILL HOLDING OFFENDERS RESPONSIBLE FOR
THEIR ACTIONS.

[VERY BRIEF PAUSE]

THESE EFFORTS DO NOT INVOLVE A BLATANT REFUSAL
TO UPHOLD THE LAWS OF OUR STATE.

AS THE GOVERNOR JUST OUTLINED AND AS TAMPA LAW
ENFORCEMENT HAS SEEN OVER THE YEARS ...

EMPOWERING CRIMINALS THROUGH A LACK OF
PROSECUTION, JEOPARDIZES THE SAFETY OF OUR
TAMPA BAY COMMUNITY ...

AND MAKES THEM MORE BRAZEN TO COMMIT
ADDITIONAL CRIMES AND CONTINUE TO VICTIMIZE THE
INNOCENT.

[VERY BRIEF PAUSE]

AS THE SHERIFF OF HILLSBOROUGH COUNTY, I AM
COMMITTED TO LAW AND ORDER ...

AND HOLD MYSELF ACCOUNTABLE TO THE PEOPLE ...

AND WOULD EXPECT OTHER ELECTED MEMBERS OF OUR
COMMUNITY TO HOLD THE SAME VALUES.



                                                                             DEF 000530
                                                                             PEX 63.005
      Case 4:22-cv-00302-RH-MAF Document 135-27 Filed 11/29/22 Page 6 of 6

TODAY, GOVERNOR DESANTIS IS HOLDING STATE
ATTORNEY WARREN ACCOUNTABLE.




                                                                             DEF 000531
                                                                             PEX 63.006
